

Matter of Montu L. (2024 NY Slip Op 03269)





Matter of Montu L.


2024 NY Slip Op 03269


Decided on June 14, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 14, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., LINDLEY, OGDEN, NOWAK, AND DELCONTE, JJ.


282 CAF 22-01704

[*1]IN THE MATTER OF MONTU L., TIARA L., AND WAKEL L. ERIE COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT; MONTU L., RESPONDENT-APPELLANT. (APPEAL NO. 2.) 






CHARLES J. GREENBERG, AMHERST, FOR RESPONDENT-APPELLANT.
BENJAMIN E. MANNION, BUFFALO, FOR PETITIONER-RESPONDENT.


	Appeal from an order of the Family Court, Erie County (Brenda M. Freedman, J.), entered October 13, 2022, in a proceeding pursuant to Family Court Act article 10. The order, inter alia, adjudged that respondent had neglected the subject children. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Same memorandum as in Matter of Jasmine L. (Montu L.) ([appeal No. 1] — AD3d — [June 14, 2024] [4th Dept 2024]).
Entered: June 14, 2024
Ann Dillon Flynn
Clerk of the Court








